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                                #:16549

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                        CENTRAL DISTRICT OF CALIFORNIA
12

13   CHINA CENTRAL TELEVISION, a China )           Case No.
     company; CHINA INTERNATIONAL              )   CV 15-1869 MMM (AJWx)
14   COMMUNICATIONS CO., LTD., a China )
     company; TVB HOLDINGS (USA), INC., a )        [PROPOSED] ORDER
15   California corporation; and DISH          )   GRANTING STIPULATION
     NETWORK L.L.C., a Colorado corporation, )     TO EXTEND FACT
16                         Plaintiffs,         )   DISCOVERY CUT-OFF FOR
            vs.                                )   THE TAKING OF
17   CREATE NEW TECHNOLOGY (HK)                )   DEPOSITION OF AMIT
     LIMITED, a Hong Kong company; HUA         )   BHALLA
18   YANG INTERNATIONAL TECHNOLOGY ))
     LIMITED, a Hong Kong company;                 Courtroom: 780
19   SHENZHEN GREATVISION NETWORK ))               Judge: Hon. Margaret M. Morrow
     TECHNOLOGY CO. LTD., a China
20   company; CLUB TVPAD, INC., a California ))
     corporation; BENNETT WONG, an             )   Action Filed: March 13, 2015
21   individual, ASHA MEDIA GROUP INC.
     d/b/a TVPAD.COM, a Florida corporation; ))    Current discovery cut-off:
22   AMIT BHALLA, an individual;
     NEWTVPAD LTD. COMPANY d/b/a               )   December 30, 2015
23   NEWTVPAD.COM a/k/a TVPAD USA, a           )   Extended fact discovery cut-off:
     Texas corporation; LIANGZHONG ZHOU, ))        January 15, 2016
24   an individual; HONGHUI CHEN d/b/a E-
     DIGITAL, an individual; JOHN DOE 1 d/b/a ))
25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
     DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
26   JOHN DOE 5 d/b/a GANG YUE; JOHN
     DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 ))
27   d/b/a GANG TAI WU XIA; and JOHN DOES)
     8-10,                                     )
28                         Defendants.

     [PROPOSED] ORDER GRANTING EXTENSION OF DISCOVERY CUT-OFF
     DWT 28512479v1 0094038-000021
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 1                                     [Proposed] Order
 2           Having considered the Stipulation by and between Plaintiffs China Central
 3   Television, China International Communications Co., Ltd., TVB Holdings (USA),
 4   Inc. and DISH Network L.L.C. (“Plaintiffs”) and Defendants Asha Media Group and
 5   Amit Bhalla (“Asha Media Defendants”) and good cause having been shown for an
 6   extension of the fact discovery cut-off for purposes of taking the deposition of Amit
 7   Bhalla on January 15, 2016, the Court Orders as follows:
 8           The fact discovery cut-off in this action is continued from December 31, 2015
 9   to January 15, 2016 for purposes of the taking of the deposition of Amit Bhalla. No
10   other scheduling deadlines are impacted by this Order.
11   SO ORDERED:
12

13   December ____, 2015                           ______________________________
                                                   Hon. Margaret M. Morrow
14                                                 United States District Judge
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     DWT 28512479v1 0094038-000021
